                  Case 08-13141-BLS   Doc 3802-2   Filed 03/22/10   Page 1 of 12




                                         D(HIBITA
                                       Amended Claims




45429/0001 -61/Ul?74v I
                           Case 08-13141-BLS                   Doc 3802-2         Filed 03/22/10           Page 2 of 12
                                                                                                                 ol
                    E                                    o\
                                                                                     c{
                    7,9
                    dq .t                                                            4
                    30                                                                                                           AO
                                                                                                                                 T
                    Fr




                    l+ 3
             o
                    3E                                   "'1                                                     s
             t.'l
       v)                z E
             z                                                                                                   6
       FI
       I     t <l   !.'! tIJ
                               a5

                                                         B
                                                         3
       ql
       (t)                                                                                 d,.r
                                    tq                              F                                                 U>
       EI
                                    Fs
                                    ZT                       >      6S
                                                                    ,-r
                                                                                           vv
                                                                                           zi
                                                                                           e25    N



  ;A
       (/)               FT
                         :       3>
                                ,F 2
                                    F,    ,-t            -.FU=
                                                         4d,j& r. >
                                                         rOD t< Z
                                                                                            & .r
                                                                                           tJt
                                                                                           ?P E                       9s p
                                                                                                                      il 3
 <^                      z     E;                        EfiEXX E-
                                                                                     3Jg
                                                                                     cdr'. >l
                                                                                           F
                                                                                                                      F!i
                                                                                                                  Xu si
                                                                                                                 zYU
 III
 t2
 ? rrl
       l.r                     TEHF
                               v !r1 x
                                    =.
                                          '              !l).ni
                                                         lt;EUq
                                                         ;9953
                                                                i
                                                                     E
                                                                            X
                                                                                     :3XE3F
                                                                                       y Fr x
                                                                                        =.
                                                                                                                 32a
                                                                                                                 S<EPC
                                                                                                                            9,
                                                         (^
                                                          -\ / t:l o    ..1 \,,      N'EtrO
                               AFHg                      <E>6R33                     idR63
Ae'l                                                     al
                                                         oi                                                      n
                    ?e                                   h
rIJ-
z2                  d<
                    30 ?
                                                         ot
                                                                                     E
                                                                                      E

                                                                                     !t
trx                                                                                  9
FD.
       2                                                                                                                         d

       F
                    !+                                                                                                           e
       U     eo
             3
             vit                                                                     n
             , .r Ir1=                                                                                                !E
       u,
       p     ;azffE                                      a{
                                                         .t                                                      ^ .z t'.
                                                                                                                 z€    g


       z                                                                                                                         I
             I pa n            n
                               E5                        6                           e
                                                                                     13

                                                                                     )
                                                                                                                 5
             3 di a                                      n
                                                                                     B                           5

                                    9s'
             F..



                                    x Eh                       iq
                                                               Ei
                                                                        Id h                          cX
                             {N    A
                                    a'-
                                      5
                                                ,   t.
                                                         3Eg 3 i                      .
                                                                                     +&ii
                                                                                                      2S                         E


                         lrl rr<   P >                                               J.|                              FE*
                         z
                             ig >r.,8 3                                                                               F*d
                                                                                                                      xxh
                                                         nfiE ;E E- F                nEr es E- F                6Hg;E
                                                                                                                .1 ZE>9
                                                                                                            F
                               EE;*EBsE                  EFEEgFHg                    ?EsSXFeX
                                                                                     =IVVE =E                   igEdH
                          Case 08-13141-BLS          Doc 3802-2      Filed 03/22/10       Page 3 of 12
                              .i
                                           tl        r        l\
                                                              ..1               .i              {
                     <p
                     -i<                             \D
                                                              6l                s
                                                              \o


                     flR                                                                                        bo

                     F

                                           o                   N
                     <*                    E
                                                                                R
                                                                                U               U
                     (,


               lQZEE I                               't        ...
                                                                                                'i
       .t)     ()
               z
               5 roo I
       H       s i5                                                                             d
                              ts           a         ts


       U'
                              >.h>k:>t:                        >     t:l        >ii
                                                                                (,E
                                                                                                      l-

       p
                              9E
                              di tr str9 E    9 EE
                                         tr rrE               9E
                                                              Ei!!              Gtr!!
                                                                                                      H
                                                                                                      gl
                                                                                                      trs!
       u)                     r!.<tt
                              Z        aZ       a   62  vt N" ZthiS             2,!rE                 trE
 rX
                                       sg,<         Rt$.< F r!<R                tll.4      R

{n                            224 F22z {222 F 821 F 222 E                                       F
                                                                                                z    2eF
LtA                           e;4 ae;H x'E;E A P;E A E;E A
                              FBEFXFg6FXEgdRE
                                                                                                     ;E T
                                                              FBdFX             FBdFX           t! 9ErP
                                                                                                ea

t2                                                                              F>JF;.i
                                                                                                z z:85
Aa>
>B)
                              EEiEeEFiEEEFiEe EBiEE                             Ef;EEH          U    tsi59
           I                                                                    q
                              Or                                                                ci
l'l    I-.
                     e9                                       $                                 q.
                     i4       $                                                 \o'
                     ,-r 5
'A                   so
FX
Pri
Ht.\
                     t4                                                                                         9

       2             E                                                                                          t5
       I         {*                                           c!                                ts              F
       U       xv
               3
       Ll
               I pE
       (tt     i 33 f
               g                                              I                                 I
                                                                                                                o

       tr      azUD
               EI
       z                                                      t
               P en g
                                                                                E                               !
                                                                                5                                ,d
       o       ?t <J                                                            N
               E AE S                                         '[
                                                              E
                                                                                               i.l
                                                                                               B
               f':
                              >. li                           >h                r-             :*
                              9E                                                9E             i,!    !:!       6
                              6EN                             Eltr!J            Etr!!          EItr!!
                              ZtrE
                              |l..<    R
                                                              2 'v>
                                                              FI .<        a5   Ztt.
                                                                                EI .<          zq6
                                                                                               lll .<
                                                                           R               R                F
                          E 22e F                             22e E 222 E 222
                          z g;_E
                              FgdFX
                                       t                      F;E I E;E I F;E iE
                                                              i;;Lr6Fit-
                                                              tr>iFci           F99TE          EHdrF
                              EEEEE                           El=i.itO
                                                              o6EO!             6EiZt          EEEEE
                      Case 08-13141-BLS       Doc 3802-2           Filed 03/22/10           Page 4 of 12
                                                                    6                cl
                 E                  ut                              ts.              I
                 1p      I                                                           {.
                 fi<
                                                                                     oi
                 so
                 F



                     -llc           I                                                s
                                                  G
                 3
                                                                          :E         t
            i            oA         'tt           :EE               zEE              E
      ta             z
            z            I          I             6                 q
              FA
      Ft    5 <'J        R                                          ;
                                                  b

      lrl
      6                                                                                    <6
                                          !t? o        |:1
                                                             b
                                                                                     ._.9 [
      D                  x .S
                           tt;
                                H
                                    xg
                                    gHbi
                                             H
                                                    Es
                                                             <n

                                                                          24 o;
"j
      vt

                     z
                       ^<
                       AAz
                       ii FJ
                                                  tB
                                                  -n
                                                             E'
                                                             d      rl t EE::Ic
                                                                    FJ r-.
                                                                          ld


      l!                 2z?,E      ;PRH          :d>a              td>o =
t1
                         ISEH                     EAtfi             de33
                                                                    H !.{ > !r
      z
                                                  eflg ixEx
                                                  ;'l\JXS
z                        h>i.,0                                                      gEEgig
                         fr8S9      EHHE               xE*:
       I                 rq                       t                 8
                 z9 I.\t                          ui                ui               ct
      Fl                            B             R                 e                sq.
7                d1                               E.
                                                                                     3
      x          30                                                                  ot'
                 v
F..   t\
      z          :
      t1         i*
      t4
            BU                                                                                             3
            3
            i tlE !.
                                    eft                xE             xt
      tt,
      p
            ig ?5
               ot        5{                                         r{H              't
            oz                                    'EE
      z     e
                                    t                               t
            P  pe E                                                                  :5
            |' <rt b                                                E                E
            > oE B                  h                               b                D
                                                  E
            J
            L)



                         vI   r!
                                *
                              l*>
                                    Ls
                                    *>d<t
                                    5E
                                                       -H
                                                       =q\
                                                       94
                                                     sJc
                                                                          -*
                                                                          fic2  t\

                                                                             < <5
                                                                                  ta g
                                                                      Hs iH He: I.q
                                                                                           .{e
                                                                                                   Et



                         vxaz                                       !:
                                                  at 3
                                    EE:3.
                            bd      6EZ5
                                    Etz9i;
                                                  :e
                                                  SErA
                                                             '&'
                                                             6      :?   e EUoUi hY
                                                                    tc>o 6
                                                                           pgrulI|L  |lltr

                         33EE                                       Eggd #wqgds
                                                                                                           tr
                         E>i/,O_                  Kvx!'
                         s8g9g      H; gE         EETs              gE39             a;ixgYaz!
                                                                                     FI=E=US*U
                                                  :                 s
                       Case 08-13141-BLS           Doc 3802-2           Filed 03/22/10     Page 5 of 12
                           F                                                q
                 E   6
                 42
                 fi<                           d
                                                                            q.
                           s                                                                              o
                                               o'
                 30                                                         o\:
                                                                                                          !0
                 t,




                 -J
                 (.)


                                               4..


                             .t                f
            J                                                               5
     (nY               z
     az          FIA
                           €:
     t'!
     v4          <J
     oP                    o                   6                            )
     LI
     (a
                            <tr                      <8
                           *H   F              Pt
                                                     uro
                                                             F1             *!<i6      F
     t/)
                           SHerie              EFgi;e                       35ii;e
'J                     z
F
                                               3;HFH6                       ?;5Eig
                                                                            Uf:iTY
tz   zFI                   gEEEifr             Hlrxi0                       e>:;i9
                                               <9YEzE
                                               t'lvv'JFr(J                  fr8U536
      I                                    E
                           ..1             .l
     F                     i5              s0c.                             s
                =9 q
                -<
z
     X
                so s       or_
                                           d
                                           d\_                              oi
                ,                                                          5                              t
E
F    N
     z          :                                                          t'\
     F          J
                I
     qJ>
     bA
     4<         gE
                           a                                               t
                   n                       5.
     d6          z
     za
     >9            I                       tl                              e
                F IIJ                      -                               x
                <|-]
           E                               b
                           E                                               E
           F!

                                 >zHg                zzSg
                                                   s l-           trr
                                                                                 >  "* !,]F5
                                                                                 zI zu
                                                                                    :45
                                                                                                          o

                      EIgg"as f;e 3E^E$ ;$ 3E^89 ;.g
                      z bnUnE '{i EnUnE t+l2VeVb!.r5a
                           **q$;e E*fET;qx Eg EEEs Es
                           EE$esc;E        szEzsg:E                        Sz"tzsPis
                                           I                               F



                                    zF                                    HZ SZFSZ fr

                       |:*
                                Case 08-13141-BLS Doc 3802-2        Filed 03/22/10            Page 6 of 12
                                .!               o
                                                 q                     .l
                     :                               E                 ilq.
                     <s te                           nf
                                                                                                             r.1

                     U1                              3
                                                     oi
                     so
                     v


                            -le
                     3

                                                                      Icl
               E     a> I                            f
         U)    I
               ".r          z
               z
                                                     E
         FT          Fl{
         I           <tJ                             D



         th
                                  <U                      <B                <tr
         P
                                ...9 il              .9         E     ,-.:             rI')


         (

   t/{                          SFeq*s               SEsroc           iFpsIc
                                a6EEBd
                                Z> at P Fr
                                                     !?.iF!ltr.J
                                                     !DYF+,Jr
                                                                      Z>.i.\FlJ-.
 hE                             ;?g:#u^.             6?gE3s           :2Ug<!?
 tz
 >       lJ)
                                EdesJJ
                                Efio9-'Fi            Hgix{g           6il:-u(4
                                                                      s>:;19
 a                              1:1 :\r|-n           3855:U           a:-1 -r\sHi'!
                                                                      ('t\Jl./rrr<\J
/-lA
                                i
                                iE
                                                     b
                                                     .l
                                                     s
                                                                      5
                                                                      Fl

 ltr     r.          ,.,1       rq
                                                     +                $
 'te                                                 3                s
 laX                 s                                                E.
                     v
 Ffi                                                                                                          E

         z
                                                     N
         F
                     3-ls
               3
               i
                     qs                              s
                                                                      I
         .l)                                         T                I
                                oA
                            2
               El
         z                                           a                c
                     F trl a5                                         -
                     <Fl E                                            E
                     OE b
                        o                            E                E
               I
                                     z>dg
                                     < <5     Fr
                                                      22eX-dR
                                                               .f>zfrg
                                                                  s=. H-
                                3B"EF FA
                                5et U r.r tr ''l H
                                                     EE"Ec Is iE^EF ;g
                                EIWEHEe Ei;EETig                      E:H:ESis
                                EEBESEiU SeBesFiu                     EEgEssiE
                                F                    P                3
                               Case 08-13141-BLS Doc 3802-2      Filed 03/22/10     Page 7 of 12
                               .l               .l                 .\l
                      : ig                         i5              B
                      1p
                      U1 $                         3               {
                                                   o'
                      so
                      o-
                      F
                                                                                                   ho




                      .l                           \D              3


                ! *B .t
                r frE o                            5               I
        Ch
                UZ
                z
        ?       5 cto o
        FJ
        U       r 55  s                                            ;
                5 otr
        H
        q
                               -gF
                                     <6                  <5              t5
        U)
                                                   ",g il          ,-. X      cr



  iri                                              sF    s sIq
                                                                   SFsq;s
{ar                                                :i:'F=rH
F                              sEarHt              i28Eip"
rz
        lr,,l
,l]     il                                         v<a-zY
                                                   gS'-4Jfi
                               HBsi:u              \AoQ;F          Es3E:s
?
Er
                               L.
                               .l                  5               "a
                                                   g               n
                      <p q.                        a.              s
t!
ZE
        ii
                      U{ s
DE                             oi'                 Or'
                                                                   sri
FX                    Y                                                                            o
HN:
        z             :
        F             3+
        n                                                                                          tl
                !                                                                                  !
                                                                   R
                Fl
        IA            {> s                         't
                           z
                ttl
        z                                          n
                      F)A
                      F lrl
                            5                      :5              F
                      <rl                          S
                               b                   E               b
                J
                                     "2< r*
                                         2V
                                         <3
                                              F
                                              6      zzHF                t2 2H
                                                                            "{ E-
                                              sr
                                                    .t fi- H^.           f f I P^.
                               5E^Es   at
                               bttUF E I.l d       EE^EF ;E        EE^EF HE
                           z                                                                       It

                               EZWqsds             ;E EEEI Ag      EEEEEtEs
                               gE$EBs;E            EEBES9iE        SERESF:E
                            Case 08-13141-BLS Doc 3802-2           Filed 03/22/10       Page 8 of 12
                                             6{
                  :          5
                                             6                        3
                  ?s                         oc,                      q.
                  ol {                           6i
                                                                      so\'
                  <n                                                                                   l\
                                                                                                       s
                  v


                  <* g
                  E                              ts.
                                                                      g
                  I

            ? 9F
              |.,, f I
      th               z
            z
      Fl          <j                             D                    b
      F.l


      v)
                                  <5                   <5               <6
                             '"g            fi    -9fi                ..9  3
      (t)              t{                        EE^,.brs
                         eEgide                  ii4tsL-ig            sFcq;E
,tO                    z                         ExFdiij              A6EE5J
                                                 EEEE;;
                                                 otHS;0               F28F-ip;
rz
I!
>tE
e
      i-\

                             EEsEig
                                                 HgrXlg
                                                 ;8U5:E
                                                                      HdiiSI
                                                                      E-r6.F

A'l
                             Fl                  6l                   e
                                                                      :)
                  e,2 I0q                        E
ZEi<
IIt                                              oe.
                  d<                                                  cl
                  -rI
                  <fl {o                                              s
FX                                               B                    B.
                  F
F r.\
      z
                     E
      F           3*
                  tJ
      U     FI
      trl   3
      le    11                                   R
            d i;E                                                     F
      .a                    I                    I
      p               z                          o                    't
                                                                      3
            lrl
      z                     I                                         6
            F FI{                                e
              {t.]
                            b                    sz                   x
            {
            o
                                  "< r1
                                  2  29,;
                                     <5 !.
                                          F            > >f Ra
                                                       z 2Y,
                                                       s 3i   Fr
                                                                             "229^6
                                                                                "!  R
                                                                              a <i Fl
                      ET
                            3F
                            F.\., ia
                                     Es is
                                       rJ   3E^Eg ;.g 3E    Eg ig
                            5r.r U!'r E I{J           FeOvr-
                                                      PFIUlI|L
                                                               !1 i
                      2
                            ?Y,EVPH'd                                               "{tr
                                                                                                       'l
                            El,afrI*4H
                            69<9F;J(,,           ESH;HSiE             ;?Wq$ds
                            EEBEEg:E             HE$EssiE            EE$EssiE
                       Case 08-13141-BLS           Doc 3802-2       Filed 03/22/10           Page 9 of 12
                           q                 .t
                           ix                                          c
                  12 e                       q.
                  61 $                       E                         x(''_
                           O\'               ot
                  so                                                                                        u)
                  Y                                                                                         f
                           R                 R
                           g                 g
                  I


            r,l
                  tg
                  ep                                                   rr
      v)               z
            z
                  ll|O
                  F trt
      Fl
      U           <:r                        s

      q
      tll                  @3P
                                 s5            <3
                                             ."9
                                             ()El    F                 '..:
                                                                               frg
                                                        !:
      th                                     tE^-.eq
                                             ? z !{ t,/ _! H
 rX
                           EEqeis            d<51!;i                   EFsr;s
                           EaEdIi            DX*dr.i5
                                             ci :- F: { H
                                                                       x F ::! r+
                                                                          a'\
                                                                       gTYF=,JH         Fl

 FIIt
 El a\                                       6Agg;s                    iEBFlp:
 rZ
 2.   El                                     tsBixlE
                                                                       9<q>vlv.
                                                                       gHF{13
                                                                       \4o9.;4
                           HsgEiE            ;8U5=E
.&                         6                 b
                           .l                q                         6
                                                                       al
                  a        q                 il
                  il
                  U
                                             a                         R.
i4    -           J                          $                         il6\'
AH                s        o\_
                           5
                                             or'
                                             d                         5
                  F                                                                                         a
FF.
      z           E
      F-'

            3
            rl    FI
            il
      .t>                  rr
                                             g
            Ir|
      z                    q                 q                         R
                                                                                                            lrl

                  FA t5
            vl    <-J B                      B
                           E                 E                         B
            U
                                 z"< t9
                                     zH E
                                     <5 6
                                                   - -{
                                                   2      R
                                                     i-o^ 5                    tzz9;
                                                                                   r*        F
                                        Fr
                                                                               * f f- g                     8


                                        ;t Eg"Es
                                                                                                 .

                                                                                                            !
                           3E^E$
                                           DnUeE {l EE ^d F
                                                 5e                                          h-E
                           bsUnE Ll i
                                             aYEY  I9l o                                                    u

                           *#9$is            C<-.q<X^-r;(J
                                             !4 l;tr    tiEI q;'l      EEESETiE
                           EEBESE:E          SEBEsg:E                  EEgEsgiE
                                             t\
                            Case 08-13141-BLS           Doc 3802-2     Filed 03/22/10        Page 10 of 12
                                 6t               Fl                      Fl
                      E                           3                       tr
                      42
                      n< {.
                                                  aq.



                      !J
                                                  a                                                          o
                                 di                                       d.'
                      so                                                                                     $
                      ),



                      <*                          3

                      srH        t
                      ?E A                        T                       'l
       v)                  z
               z
                      FTQ
               5 Ftl
       !                         X
       U         <rl


       IIJ
       ll
                                      <3                                    <6
       E
       ,s
                                 -9il             .g46 I                  .g     F
                                                                          tH^..4r!
       (^
       &
                           |I]
                                                  eEi s; e                3i{xt-rE
'io                        z HEssIe                                       5x   F dIi i
                                                                          g]Yt!:qr
                                                                          649[n)d
Frll
,!     -\                                         3;EE;F                  (')d(,>vlv
                                                                          ^4\J!r.-r
>rz
7t!                                               HEr*lI                  HrixlE
                                                                          g8u5=8
e
Ai
                                 HEEEig           8855=5
           I
                                 ct               b
                                                  .t                      ".
                                                                          .l
                      4,9 3
                          0q.
                                                  E
                                                  q.                      G
                                                                          q.
EI     L.
                      d<
2E                    fo o-
                      'rJ                         3                       q.
Fqx                                                                                                              J
                      F                                                                                          o
                                                                                                                 I
F\
       z
       F              ?*
                      rl
                                                                          f{



       P       3

       o              3s                          5
                                                  eA
                                                                          .t                                 i
                           z                                                                                 !
               F]
       z                                          I                       I
               v F ttl t!:5                       15
                                                                                                             !
                 <rr S                            E
                                 b                                        x
               It'i                               a
                                      .€t               .q?
                                      saaeg
                                                                                 .€9                         n

                                        dr. E^.
                                           .f; "<1
                                                        2 te     g
                                                       r {1-u. F^.
                                                                 H^.
                                                                                 2 2     ;                   U



                                 iE^dF ;g EnUnE
                                          fiE^dF ;g   3E dt i''F          |.lJ     6\J
                           z                       1c bE UqJ E J
                                                  a>Ezgg;d                               '+
                                 EsHgHsiE         FJ;56a49
                                                  Ei:rL:!oa;*             EZHSq$d e
                                                  PX:t'-X:-n-X            EPSPTEI9
                                 Eg$E8FiH         42*ZXEzF                SEXZUE:U
                     Case 08-13141-BLS Doc 3802-2               Filed 03/22/10   Page 11 of 12
                      .l              i-
                  E   I                                                oi
                  4,9
                  d?
                  so
                  j-                                                                             !o



                  E                                                    a\

                  U
                                               I                       E


            s ,..fr                            5
                            f                  I                       T
      (t)   9Z
            z
            > Fro                                                      €a
      U     >  ki
            ll r-\ l: b                        d

                                               I                       :.
                                                                       t-z
      v)
                                <U             23                      ;<
                            -g       F         t<    tJ
                                                          =ah
                                                                       qFrct
                                                                       E9?,)o.
                                                                       it;ZA
      tt)              EI
                            SEsqIB             H
                                               u E,FE
                                                 vz4>                  96Es:
                                                                       E??'
"j                     z B6EES:                O r{i;Z                 o X :E-= z
tr                                                                     9-.& E6?9q
lI|                                                                    9=EE€9t95
      zF]
z                           fiEEEiH            EHgE                    EEElEHEf,E
                            o                  e                       €
                                                                       .t
                                               .{                      $
      F.          1p
                  -< {                                                 ;
z                           s
      x           so
*F    r.:                                                                                        E

      z           :
      F           3*
                  U
                                                                       \c
      U
      lll   3
      F              I
                  i;ro H                            IE
      v)          {: 5                         ,€E                                               o

                       z                                               5
      z                                                                                          I
            I lll0 I                           I                       a
                                                                       E
            att   <r.J                                                 E
            1               E                                          ts

                                -4P
                             are.5
                                < <5     ,Il        ^'P(n                   cin
                                                                            z=za 5       -
                            iR Fs I.s               i,eo1*g                 e6EE=
                            EisIE EE                E x:;-F       2         E F:T-E
                       z
                            #nzq3;q                                                      '       5




                            EE*ErFtt EE,EEEEEII EE,EgEEEIf
                                               3                       s
                      Case 08-13141-BLS              Doc 3802-2   Filed 03/22/10   Page 12 of 12
                >l     q
                ipl
                oll   a'
                                          I

                .r El
                tot
                F /.\l
                .1 EI                                                                              00

                'l
                >l      I




                {*l
                9l      I


                     -l g                       x6
                sEl
                                          eiE
      (t) ?- z\
      E2= b             )
                                          R
                                          E
      x > <31
      x?-(,l 5 0tr1 !l
      a'r               I

      Ell
      ql                    d,

                            U             F
      tul                                 z
                            Su    I'r F   lrl >
      9l
                                          Y.3
      q)
      &>l
      /n
                        E*s H i
                     tl|l
                     <l v9RoSz            99XR
,j
1-
      xzl
      t-a
      cll
                        I
                            =az1
                                 <9       f;;E
                                          a3dE5
trl   AI                    EPdXES        ;i=.^ <
  zl  HI                    Al +E2>
z Brl                       nflF3Z=       4EEd
                                          S? t& ii <
  EI                        >e <o K z     >o*v
      t-l                   E
      <
      F-        =.^l
                            i             g

zp E
   F
                ol
                -<;41 \o'
                rJ rl
   E
   X            <O
                trA
      lrl       y
F
F     t\
      F

      7E
      F "{*
                            i\                             J
                                                                                                   E


      U BE
      EI
                                                           F                                       .9

      F6x                                                                                          a
                            I
      E
      2E
         *3E                              g

                a
      A F|a F8
            <-l
                                          E5

                                          s
            E OE                                                                                   a
            1
            U
                            n
                            4c
                            dr
                               r-                                                                  E
                       g"{9 =F H          ..,
                                           =         3
                       AYE
                       NfQoBz=
                               >. UT
                                          9E 5X
                     z tq<=39             HH 5f;                                                   s
                       EiEXH6
                       3E+Az>             4E 6*
                            ESEdEE        ggiES
                                          3
